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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

 ELISA GARZA, ROWLAND ESTRADA,                      §
 STANLY ISAQ, FELICIA WOODS, BARRY                  §
 TAYLOR, FOMOSHA TAYLOR, NGHI                       §
 VO, DIANA MARTINEZ, JAMES BOHLIN,                  §
 GREGZELL BROWN, TIFFANY HENRY,                     §
 HEATHER ADAMS, DESMOND SMITH,                      §
 AMANDA CAPPS, HALEY MASTERS,                       §
 AMELIA GONZALEZ, JOE GONZALEZ,                     §
 DANIKA YOUNG, ANDRIA GUERRA,                       §
 LATONYA SMITH, ANTHONY RANDLE,                     §
 BERNICE THOMAS ESAW, TAMICA                        §
 THOMAS, AND EMMANUEL                               §
 EMMANUEL,                                          §
                                                    §
         Plaintiffs,                                §
                                                    §
 VS.                                                §   CIVIL ACTION NO. SA-21-CV-1221-FB
                                                    §
 THE UNIVERSITY OF PHOENIX, INC.                    §
 and APOLLO EDUCATION GROUP, INC.,                  §
                                                    §
         Defendants.                                §

   ORDER GRANTING DEFENDANTS' MOTION TO DISMISS WITHOUT PREJUDICE
                           TO REPLEAD

       Before the Court is Defendants’ Rule 12(b)(6) Motion to Dismiss Plaintiff’s Complaint (docket

#10); Plaintiffs’ Response in Opposition to Defendants’ Rule 12(b)(6) Motion to Dismiss Plaintiffs’

Complaint (docket #15); and Defendants’ Reply in Support of Their Rule 12(b)(6) Motion to Dismiss

Plaintiffs’ Complaint (docket #16). This case involves allegations pursuant to the Texas Deceptive Trade

Practices Act, for fraud, negligent misrepresentation, and restitution for unjust enrichment. Plaintiffs

assert in their Complaint that “[s]ince at least 2012, Defendants misrepresented the benefits of graduating

from [The] University of Phoenix.” Defendants allegedly “falsely and misleadingly advertised working

with certain prominent companies to develop curriculum and relationships with such companies [to]

create[] career or employment opportunities specifically for [The] University of Phoenix graduates, to

induce potential students to purchase educational products and services, and to remain students through
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graduation.” Plaintiffs assert they relied on these misrepresentations (referred to in the Complaint as

Corporation Relationships Representations) in “choosing to purchase educational products and services

from University of Phoenix.”

       Defendants contend the Complaint should be dismissed pursuant to Federal Rule of Civil

Procedure 12(b)(6) for failure to state a claim and for failure to satisfy the heightened pleading standard

set forth in Rule 9(b) of the Federal Rules of Civil Procedure. In order to prove their claims of fraud,

negligent misrepresentation, violation of the DTPA, or unjust enrichment premised on the same set of

facts, Defendants maintain the Plaintiffs must show that Defendants made false, material representations,

and that Plaintiffs acted in reliance on those material misrepresentations resulting in some injury. Under

Rule 9(b), Plaintiffs must “plead the who, what, when, and where” of the core elements of their claims,

and they have failed to do so. Instead, the complaint alleges generally that most Plaintiffs saw or heard

the misrepresentations at some point during a one to two-year time period and those misrepresentations

were repeated by unidentified representatives of the Defendants at some unspecified time. Defendants

contend “[t]his is not sufficient to satisfy any pleading standard, let alone the heightened pleading

standard under Rule 9(b).” Moreover, Defendants assert that some of the claims are time-barred, and

some of the alleged statements are not actionable or too general to be actionable.

       In response, Plaintiffs contend they have satisfied not only the Rule 12(b) pleading standard but

the heightened pleading standard of Rule 9(b) as well. Plaintiffs request, in the event this Court

determines the motion to dismiss should be granted, that they be granted leave to amend to cure any

pleading deficiencies. In reply, Defendants maintain once again the Complaint does not meet the

pleading standards of Rule 9(b) as to the “who, what, when, and where” and the Response does nothing

to address these deficiencies.


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       The Court has reviewed the allegations contained in the Complaint along with the arguments and

authorities and standards of review presented by the parties in the motion, response, and reply. Based

on the arguments and authorities presented by the Defendants, the Court finds Defendants’ Motion to

Dismiss should be granted. Accordingly, IT IS HEREBY ORDERED that Defendants’ Rule 12(b)(6)

Motion to Dismiss Plaintiffs’ Complaint (docket #10) is GRANTED without prejudice to Plaintiffs to

replead their claims within 60 days from the date of this Order.

       It is so ORDERED.

       SIGNED this 29th day of September, 2022.


                                         _________________________________________________
                                         FRED BIERY
                                         UNITED STATES DISTRICT JUDGE




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